                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                    :
HENRY J. LACHER, DAVID MASONOFF,                    :
WILLIAM WERONKO and LEVI GASTON,                    :   2:19-cv-00687-JP
on behalf of themselves and others similarly        :
situated,                                           :   CLASS ACTION
                                  Plaintiffs,       :
                                                    :   JURY TRIAL DEMANDED
                    v.                              :
                                                    :
ARAMARK CORPORATION,                                :
                                  Defendant.        :
                                                    :

                         AMENDED COMPLAINT – CLASS ACTION

       Henry J. Lacher (“Lacher”), David Masonoff (“Masonoff”), William Weronko

(“Weronko”), and Levi Gaston (“Gaston”) (collectively “Plaintiffs”) bring this class-action

lawsuit against Aramark Corporation (“Defendant”). Plaintiffs assert nationwide class-action

claims for breach of contract, promissory estoppel, and unjust enrichment. See Counts I-III. In

addition, Lacher, Masonoff, and Weronko assert state-specific claims on behalf of themselves

and other employees in South Carolina, North Carolina, and Illinois. See Counts IV-VII. As

summarized in this complaint, Plaintiffs’ legal claims generally stem from Defendant’s failure to

pay managerial bonuses earned by Plaintiffs and other class members in Fiscal Year 2018.

                                            PARTIES

       1.      Lacher is a citizen and resident of Greenville, SC.

       2.      Masonoff is a citizen and resident of LaVergne, TN.

       3.      Weronko is a citizen and resident of Dixon, IL.

       4.      Gaston is a citizen and resident of Humble, TX.

       5.      Defendant is a corporation headquartered in Philadelphia, PA.

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                                JURISDICTION AND VENUE

       6.      This Court has jurisdiction under 28 U.S.C. § 1332(d) because the potential

classwide damages exceed $5 million, and Plaintiffs and other class members are citizens of

states different from Defendant.

       7.      Venue is proper in this Court under 28 U.S.C. § 1391 because Defendant is

headquartered in Philadelphia, PA, and, upon information and belief, the conduct giving rise to

Plaintiffs’ claims was committed, at least in part, in Philadelphia, PA.

                                              FACTS

       8.      Defendant is in the business of providing food, facilities, and uniform services to

schools, universities, hospitals, convention centers, sports/entertainment venues, and other

customers throughout the world.

       9.      Defendant’s fiscal year runs from October 1 to September 30.

       10.     Defendant reportedly enjoyed record revenues and profits in fiscal year 2018 and

increased its shareholder dividends by 5% in the latest quarter.

       11.     Defendant classifies its managerial employees as falling within various “Career

Bands.” Career Band 1 is the highest level of management, while Career Band 8 is the lowest

level of management.

       12.     Defendant currently employs Lacher as a manager falling within Career Band 5.

       13.     Prior to approximately January 2019, Defendant employed Masonoff as a

manager falling within Career Band 7.

       14.     Defendant employs Weronko as a manager falling within Career Band 7.

       15.     Prior to approximately October 2018, Defendant employed Gaston as a manager

falling within Career Band 7.

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           16.   At or around the beginning of each fiscal year, Defendant publishes standardized

Bonus Plans that apply to its managers. Managers falling within Career Bands 3-5 are paid

bonuses pursuant to an annual Management Incentive Bonus Plan (hereinafter “MIB Plan”).

Meanwhile, managers falling within Career Bands 6-8 are paid bonuses pursuant to an annual

Front Line Manager Bonus Plan (hereinafter “FLM Plan”).

           17.   Defendant’s MIB and FLM Plans are written to provide Plaintiffs and other

bonus-eligible managers with a specific description of the manner in which their bonuses will be

calculated. This is not surprising, since such specificity is required under many states’ wage

laws. For example, the North Carolina Wage and Hour Law – which applies to Masonoff’s

employment – requires employers to “notify employees of the employers’ policies and practices

concerning . . . wages based on bonuses,” 13 N.C. Admin. Code § 12.0307(b), and requires that

such notifications address “[h]ow and when bonuses . . . are earned so that the employees know

the amount of bonuses . . . to which they are entitled,” id. at § 12.307(d).

           18.   At the time of hire, Defendant promises managers that they will receive bonus

payments for each fiscal year in accordance with the applicable MIB or FLM Plan. These

promises are made verbally during job interviews and through formal offer letters. See, e.g.,

Exhibit A (Lacher offer letter), Exhibit B (Gaston offer letter), 1 and Exhibit C (Masonoff offer

letter).

           19.   During all fiscal years prior to 2018, Defendant paid Plaintiffs and other bonus-

eligible managers bonus payments in accordance with the applicable MIB or FLM Plan

published at the beginning of the applicable fiscal year. This consistent pattern of conduct



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  Gaston only retains an unsigned version of the offer letter. He believes that Defendant will
have the signed version in its records.
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reinforced Defendant’s promise – made at the time of hire to Plaintiffs and other managers – that

bonus payments would be made at the end of each fiscal year.

       20.     In February 2018, Defendant sent all managers falling within Career Bands 3-5

the “FY2018 Management Incentive Bonus (MIB) Plan.” See Exhibit D. Likewise, in February

2018, Defendant sent all managers falling within Career Bands 6-8 the “FY2018 Front Line

Manager (FLM) Bonus Plan.” See Exhibit E. These bonus plans will be referred to collectively

as the “FY2018 Bonus Plans.”

       21.     Defendant’s 2018 fiscal year ended on September 30, 2018. Plaintiffs – like

hundreds, and possibly thousands, of other managers employed during FY 2018 – were owed

bonus pay pursuant to the FY2018 Bonus Plans. In particular: Lacher was owed over $40,000;

Masonoff was owed approximately $8,000-10,000; Weronko was owed approximately $15,000;

and Gaston was owed approximately $11,500.

       22.     In the months surrounding the September 30, 2018 end of FY 2018, Defendant

presented terminated employees throughout the United States with standardized severance

agreements that reiterated Defendant’s ongoing promise to pay bonuses to bonus-eligible

managers. For example, the severance agreement given to employees terminated between July 1,

2018 and September 30, 2018 stated that such employees would “be eligible to receive a pro-

rated bonus” notwithstanding the general rule that a manager “must be an employee of Aramark

on the last day of the fiscal year in order to be eligible to receive a bonus for such fiscal year.”

Meanwhile, the standardized severance agreement for employees terminated in the months

immediately following the September 30, 2018 end of FY 2018 stated: “In accordance with the

terms of the Management Incentive Bonus Plan, an employee must be an employee of Aramark

on the last day of the fiscal year in order to be eligible to receive a bonus for such fiscal year.

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Accordingly, you will be eligible to receive a bonus under the Management Incentive Bonus Plan

for fiscal year 2018.” (emphasis supplied).

       23.     On December 3, 2018, Defendant sent managers an email titled: “Attention

Required: Important Notice Regarding FY 18 Bonus.” This email was addressed to “All US

Bonus Eligible Employees” and stated: “This is to inform you that bonus payments, historically

paid in December, will be paid in February.” See Exhibit F (emphasis supplied).

       24.     On January 29, 2019, Defendant sent managers an email reiterating the promise

that the FY 2018 bonus payments would be made on February 15, 2019. See Exhibit G.

       25.     The above are just some examples of Defendant’s companywide promises that

managers would receive FY 2018 bonus payments. Plaintiffs believe discovery will uncover

additional companywide evidence as well as manager-specific evidence. See, e.g., Exhibit H

(September 26-27, 2018 email string in which HR staff confirms that Gaston “will be eligible for

his bonus payout for 2018”).

       26.     On February 1, 2019, Defendant sent an email to Plaintiffs and other managers

stating that it was not making any Bonus payments for FY 2018. See, e.g., Exhibit I (February 1,

2019 email to Lacher).

                               CLASS ACTION ALLEGATIONS

       27.     Plaintiffs bring Counts I-III on behalf of a class consisting of all managers

employed by Defendant in the United States in Career Bands 5-8 who (i) were eligible for bonus

pay under an FY 2018 Bonus Plan and (ii) have not received all bonus pay owed.

       28.     Lacher brings Counts IV-V on behalf of a sub-class class consisting of all

managers employed by Defendant in South Carolina in Career Bands 5-8 who (i) were eligible

for bonus pay under an FY 2018 Bonus Plan and (ii) have not received all bonus pay owed.

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        29.     Masonoff brings Count VI on behalf of a sub-class class consisting of all

managers employed by Defendant in North Carolina in Career Bands 5-8 who (i) were eligible

for bonus pay under an FY 2018 Bonus Plan and (ii) have not received all bonus pay owed.

        30.     Weronko bring Counts VII on behalf of a sub-class class consisting of all

managers employed by Defendant in Illinois in Career Bands 5-8 who (i) were eligible for bonus

pay under an FY 2018 Bonus Plan and (ii) have not received all bonus pay owed.

        31.     Class-action treatment of Plaintiffs’ claims is appropriate because, as alleged

below, all of the class-action requirements of Rule 23 of the Federal Rule of Civil Procedure are

satisfied.

        32.     The classes, upon information and belief, each include hundreds – and possibly

thousands – of individuals, all of whom are readily ascertainable based on Defendant’s payroll

records and are so numerous that joinder of all class members is impracticable.

        33.     Plaintiffs are class members, their claims are typical of the claims of other class

members, and they have no interests that are antagonistic to or in conflict with the interests of

other class members.

        34.     Plaintiffs and their lawyers will fairly and adequately represent the class members

and their interests.

        35.     Questions of law and fact are common to all class members, because, inter alia,

this action concerns Defendant’s common compensation policies, as described herein. The

legality of these policies will be determined through the application of generally applicable legal

principles to common facts.

        36.     Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over questions affecting only individual

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class members and because a class action is superior to other available methods for the fair and

efficient adjudication of this litigation.

                                  COUNT I – Breach of Contract

        37.     All prior paragraphs are incorporated herein.

        38.     Under basic common-law principles applicable in Pennsylvania and throughout

the United States, Defendant had a contractual obligation to make FY 2018 bonus payments to

Plaintiffs and other class members.

        39.     Defendant breached its contractual obligations by failing to make FY 2018 bonus

payments to Plaintiffs and other class members.

        40.     Defendant’s contractual breach has damaged Plaintiffs and other class members,

all of whom would have received monetary bonus payments in the absence of such breach.

                                 COUNT II – Promissory Estoppel

        41.     All prior paragraphs are incorporated herein.

        42.     This promissory estoppel claim is pled in the alternative and should be reached if

the Court or factfinder rejects Plaintiffs’ breach of contract claim.

        43.     Defendant’s conduct and representations, as summarized in this complaint, were

sufficient to reasonably induce bonus-eligible managers to expect that Defendant would make

FY 2018 bonus payments, and, in fact, Plaintiffs harbored such an expectation in good faith

reliance on Defendant’s conduct and representations.

        44.     Failure by this Court to enforce Defendant’s promise to make FY 2018 bonus

payments would cause a great injustice to Plaintiffs and the class members and an unfair

financial windfall to Defendant.

        45.     As such, Plaintiffs and the class members are owed their FY 2018 bonus – along

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with any other damages deemed appropriate by the Court – under the promissory estoppel

doctrine.

                                COUNT III – Unjust Enrichment

       46.     All prior paragraphs are incorporated herein.

       47.     This unjust enrichment claim is pled in the alternative and should be reached if

the Court or factfinder rejects Plaintiffs’ breach of contract claim.

       48.     Under basic common-law principles applicable in Pennsylvania and throughout

the United States, the unjust enrichment doctrine applies when the plaintiff has conferred a

benefit that has been appreciated by defendant under inequitable circumstances. See, e.g., EBC,

Inc. v Clark Building Systems, Inc., 618 F.3d 253, 273 (3d Cir. 2010).

       49.     Here, Plaintiffs and the class members have conferred a significant benefit on

Defendant by working throughout FY 2018 under the reasonable and good faith expectation that

they would be paid bonuses in accordance for FY 2018. Moreover, Defendant has appreciated

the benefits of such labor under inequitable circumstances.

       50.     As such, Plaintiffs and the class members are owed their FY 2018 bonus – along

with any other damages deemed appropriate by the Court – under the unjust enrichment doctrine.

             COUNT IV – Breach of Contract Accompanied by a Fraudulent Act

       51.     All prior paragraphs are incorporated herein.

       52.     Defendant breached its employment agreement with Lacher and other South

Carolina class members as alleged in detail above.

       53.     In breaching its contractual obligations, Defendant acted with a fraudulent intent

by, for example: (a) misleading Lacher and others into believing that the FY 2018 bonus

payments would be delayed from December 2018 until February 2019 but eventually paid and

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(b) moving the accrued FY 2018 bonus payment liability onto to the company’s bottom line at

the very end of the fiscal year to inflate company earnings.

       54.     Defendant’s conduct has caused Lacher and other South Carolina class members

to suffer substantial economic and non-economic damages.

       55.     Lacher and other South Carolina class members are entitled to recover actual

damages from Defendant sufficient to compensate them for their actual damages.

       56.     In addition, Lacher and other South Carolina class members are entitled to an

award of punitive damages against Defendant, in an amount to be determined by the jury at trial,

sufficient to deter this Defendant and others from engaging in such wrongful and fraudulent

conduct in the future.

                     COUNT V – South Carolina Payment of Wages Act

       57.     All prior paragraphs are incorporated herein.

       58.     Defendant owes Lacher and other South Carolina class members “wages” as

defined in section 41-10-10(2) of the Act, to compensate them for labor rendered to Defendant as

required by their positions and Defendant’s bonus plans.

       59.     Defendant has failed to pay Lacher and other South Carolina class members all

wages due, as required by sections 41-10-40 and -50 of the Act. Lacher is informed and believes

that the amount of unpaid annual bonus due to him alone exceed $40,000.00.

       60.     On or about February 1, 2019, Defendant announced that no managers in Bands

5-8 would receive any bonus payments for FY2018. Defendant retroactively attempted to alter

the terms and conditions of Lacher’s employment and the employment of other South Carolina

class members without providing at least 7-days’ advanced, written notice of such proposed

change, in violation of S.C. Code Ann. § 41-10-30.

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       61.     Defendant’s failure to pay Lacher and other South Carolina class members all

wages due to them was willful, without justification, and in violation of the duty of good faith

and fair dealing.

       62.     Upon information and belief, pursuant to section 41-10-80(C) of the Act, Lacher

and other South Carolina class members are entitled to recover in this action an amount equal to

three times the full amount of their unpaid wages, plus costs and reasonable attorney’s fees.

                       COUNT VI – North Carolina Wage and Hour Act

       63.     All prior paragraphs are incorporated herein.

       64.     The North Carolina Wage and Hour Act (“NCWHA”) requires employers to pay

employees all owed wages, see N.C. Gen. Stat. § 95-25.6, and defines wages broadly to include

the bonus payments at issue in this action, see id. at § 95-25.2(16). Moreover, under the

NCWHA, promised bonus payments “cannot be reduced or eliminated as a result of a change in

policy or practice.” 13 N.C. Admin. Code § 12.0307.

       65.     Defendant violated the NCWHA by failing to pay Masonoff and other North

Carolina class members their FY 2018 bonuses.

                    COUNT VII – Illinois Wage Payment and Collection Law

       66.     All prior paragraphs are incorporated herein.

       67.     The Illinois Wage Payment and Collection Law (“IWPCL”) requires employers to

pay employees all owed wages, see 820 Ill. Comp. Stat. at § 115/4, and defines wages broadly to

include the bonus payments at issue in this action, see id. at § 115/2.

       68.     Defendant violated the IWPCL by failing to pay Weronko and other Illinois class

members their FY 2018 bonuses.




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Exhibit A
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